

People v Castillo (2023 NY Slip Op 05376)





People v Castillo


2023 NY Slip Op 05376


Decided on October 24, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 24, 2023

Before: Kern, J.P., Singh, Gesmer, Scarpulla, O'Neill Levy, JJ. 


Ind No. 936/14, 2948/15 Appeal No. 889-889A Case No. 2017-808 

[*1]The People of the State of New York, Respondent,
vSamuel Castillo, Defendant-Appellant. 


Twyla Carter, The Legal Aid Society, New York (Steven J. Miraglia of counsel), for appellant.



Judgments, Supreme Court, New York County (Robert E. Torres, J., at pleas; Alvin M. Yearwood, J., at sentencing), rendered May 9, 2016, as amended June 24, 2016 and June 29, 2016, convicting defendant, upon his pleas of guilty, of attempted assault in the first degree and promoting prison contraband in the second degree, and sentencing him to concurrent terms of 4½ years and 5 months, respectively, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharges and fees imposed on defendant at sentencing under each indictment, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharges and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434, 435 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 24, 2023








